






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00413-CV







Juan Rodriguez, Appellant


v.



Texas Workers' Compensation Insurance Fund, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 126TH JUDICIAL DISTRICT


NO. 98-04525, HONORABLE DARLENE BYRNE, JUDGE PRESIDING







PER CURIAM


	Because Juan Rodriguez has neither paid for nor made arrangements to pay for the
clerk's record, we will dismiss this appeal for want of prosecution.  See Tex. R. App. P. 35.3 (a)(2).

	The Clerk of this Court received appellant's Notice of Appeal on July 12, 2001. On
July 12, 2001, This Court requested in writing that appellant pay the filing fee and complete and file
a docketing statement.  See id. 5 and 32.1.  The clerk's record was due to be filed in this Court on
July 24, 2001. 

	By letter dated August 17, 2001, appellant was notified that the clerk's record was
overdue and that it should be filed  no later than August 27, 2001.  Appellant  failed to respond to
this request, failed to pay the filing fee or make arrangements its payment and failed to file a
docketing statement.

	Accordingly, we dismiss the appeal for want of prosecution on our own motion.

See id. 42.3 (b).


Before Chief Justice Aboussie, Justices B. A. Smith and Puryear

Dismissal for Want of Prosecution

Filed:   October 18, 2001

Do Not Publish


